            Case 1:16-cv-03311-ELH Document 68 Filed 08/24/18 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


MARYLAND SHALL ISSUE, INC., et al.,

                       Plaintiffs,

       v.                                               Case No. 1:16-cv-03311-ELH

LAWRENCE HOGAN, in his capacity as
GOVERNOR OF MARYLAND, et al.,

                       Defendants.


       CONSENT MOTION OF EVERYTOWN FOR GUN SAFETY FOR LEAVE
         TO FILE AMICUS CURIAE BRIEF IN SUPPORT OF DEFENDANTS

       With the consent of all parties, Everytown Gun Safety (“Everytown”) respectfully moves

for leave to file the attached brief as amicus curiae in support of Defendants’ Motion for

Summary Judgment, dated August 17, 2018. Everytown is the nation’s largest gun-violence-

prevention organization, with over five million supporters spread across all fifty states, including

tens of thousands of Maryland residents and the mayors of fourteen Maryland cities. It was

founded in 2014 as the combined effort of Mayors Against Illegal Guns, a national, bipartisan

coalition of mayors combating illegal guns and gun trafficking, and Moms Demand Action for

Gun Sense in America, an organization formed after the murder of twenty children and six adults

in an elementary school in Newtown, Connecticut. Everytown also includes a large network of

gun violence survivors who are empowered to share their stories and advocate for responsible

gun laws.

       Everytown’s mission includes defending gun-safety laws through the filing of amicus

briefs providing historical context, social science, and doctrinal analysis that might otherwise be

overlooked. Everytown has filed such briefs in several recent cases, including in the Fourth



                                                 1
           Case 1:16-cv-03311-ELH Document 68 Filed 08/24/18 Page 2 of 4



Circuit and the District of Maryland. See, e.g., Kolbe v. Hogan, No. 14-1945, 2016 WL 1572325

(4th Cir. April 18, 2016); Malpasso v. Palozzi, No. 1:18-cv-01064-MJG (D. Md. June 15, 2018);

see also, e.g., Colo. Outfitters Ass’n v. Hickenlooper, Nos. 14-1292, 14-1290, 2015 WL 1955140

(10th Cir. Apr. 29, 2015); Silvester v. Harris, No. 14-16840, 2015 WL 1606313 (9th Cir. Apr. 1,

2015).

         Everytown respectfully submits this amicus brief to address the historical antecedents and

relevant social science concerning the challenged regulations, enacted under Maryland law, that

are before this Court. The Fourth Circuit has adopted a “two-part approach” to Second

Amendment challenges like this one, first asking “whether the challenged law imposes a burden

on conduct falling within the scope of the Second Amendment[]” as historically understood, and,

if does, applying a form of heightened, means-end scrutiny. United States v. Chester, 628 F.3d

673, 680 (4th Cir. 2010). The proposed amicus brief addresses issues at both of these steps.

         First, the proposed amicus brief provides an account of the historical traditions of the

Second Amendment with respect to firearm safety training and background checks. The brief

explains that challenged provision of Maryland’s Firearm Safety Act of 2013 is consistent with

American legal tradition, dating to the 18th century, and provides an overview of state laws that

mandated training and required that individuals seeking to purchase a firearm undergo a

thorough identification and background check. This tradition makes clear that Maryland’s law

requiring training and background checks is sufficiently “longstanding” to qualify as

constitutional under District of Columbia v. Heller, 554 U.S. 570, 626 (2008).

         Second, the proposed amicus brief also sets forth for the Court’s consideration additional

social science research and empirical evidence supporting the challenged law’s firearm training

requirement. This evidence further supports the constitutionality of Maryland’s law.




                                                  2
          Case 1:16-cv-03311-ELH Document 68 Filed 08/24/18 Page 3 of 4



       As noted, all parties have consented to our filing the proposed amicus brief. And, as this

motion is being filed within seven days of Defendants’ Motion for Summary Judgment, DKT 59,

granting Everytown leave to file as amicus will not cause undue delay. The proposed brief, along

with a proposed order, are attached as an exhibits to this motion.

       For the foregoing reasons, Everytown respectfully requests that the Court grant leave to

file an amicus brief in support of Defendants.



                                                     Respectfully submitted,
 Dated: August 24, 2018

                                                     /s/ Thad A. Davis
                                                     Thad A. Davis (Bar No. 18806)

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                                                 3
         Case 1:16-cv-03311-ELH Document 68 Filed 08/24/18 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I, Thad Davis, hereby certify that on August 24, 2018, I electronically filed the foregoing

with the Clerk of the Court of the United States District Court for the District of Maryland by

using the CM/ECF system. All participants are registered CM/ECF users, and will be served by

the CM/ECF system

                                                     /s/ Thad A. Davis
                                                     Thad A. Davis (Bar No. 18806)




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